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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination


                                                                                                                                      FILED
                                                                                                                                 U.S. District Court
                                      UNITED STATES DISTRICT COURT                                                                District of Kans as

                                                                       for the                                                  NOV O3 2022
                                                     - - - - District of - - - -
                                                                                                                         Cler~~S~           ct Court
                                                                                                                         By       ,            Deputy Clerk
                                                                - - - - - Division

                                                                                 Case No.        6:22-cv-01250-TC-GEB
                                                                                                 (to be filled in by the Clerk's Office)

                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write "see attached" in the space and attach an additional
                                                                                 Jury Trial:   (,heck one)    ✓-□No
page with the full list of names.)
                                -v-




(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write "see allached" in the space and attach an additional page
with the full list of names.)



                             COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.        The Parties to This Complaint
          A.        The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                              Name
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address


         B.         The Defendant(s)

                   Provide the information below for each defendant named in the complaint, whether the defendant is an
                   individual, a government agency, an organization, or a corporation. For an individual defendant,
                   include the person's job or title (if known). Attach additional pages if needed.

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                                                                (
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                    Defendant No. 1
                               Name
                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (if known)


                    Defendant No. 2
                               Name
                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                              E-mail Address (if known)


                    Defendant No. 3
                              Name
                              Job or Title (if known)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (if known)


                    Defendant No. 4
                              Name
                              Job or Title (if known)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (if known)



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          C.        Place of Employment

                    The address at which I sought employment or was employed by the defendant(s) is

                               Name                              C .                     ·              w~s-r,~Jtnel 8~
                               Street Address
                               City and County                                                                      K
                               State and Zip Code
                               Telephone Number


II.       Basis for Jurisdiction

          This actio~        rought for discrimination in employment pursuant to (check all that apply):

                 G1'             Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,
                                 color, gender, religion, national origin).

                                 (Note : In order to bring suit in federal district court under Title VII, you must first obtain a
                                 Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

                 D               Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

                                 (Note: In order to bring suit in federal district court under the Age Discrimination in
                               · Employment Act, you must first file a charge with the Equal Employment Opportunity
                                 Commission.)

                                 Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

                                (Note: In order to bring suit in federal district court under the Americans with Disabilities
                                Act, you must first obtain a Notice ofRight to Sue letter from the Equal Employment
                                Opportunity Commission.)


                □
                □               Relevant state law (specify, if known):

                                  K~ S.A . 44- Sos
                □               Relevant city or county law (specify, if known):




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I   Pro ,, ,   I!~· 12/16) Complaio< fm Employmro< n;,en..;...,,

    III.            Statement of Claim

                    Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
                    facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
                    involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
                    the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
                    write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

                    A.      The discriminatory conduct of which I complain in this action includes (check all that apply):


                                   l:d,;          Failure to hire me.

                                   ~              ;=::::o:::              ::ployment

                                   lYf /          Failure to accommodate my disability.
                                   ~       /      Unequal terms and conditions ofmy employment.
                                   ~   /          Retaliation.
                                   ~              Other acts (specify):
                                                  (Note: Only those grounds raised in the charge   d with the Equal Employment
                                                  Opportunity Commission can be considered by the federal district court under the
                                                 federal employment discrimination statutes.)

               B.          It is       best recollection that the alleged discriminatory acts occurred on date(s)

                                                                        02 ( -                JCl.A                 '2022
               C.
                                                  is/are still committing these acts against me.
                                   D              is/are not still committing these acts against me.


               D.          Defenda~            discriminated against me based on my (check all that apply and explain):
                                   @              race

                                   □              color
                                   I:] /          gender/sex
                                   IYf            religion

                                   □
                                   w rowhl beaJ±b cho.gnD61
                                                  national origin
                                                  age (year of birth)      \   q~ 3     (only when asserting a claim of age discrimination.)
                                                  disability or perceived disability (specify disability)   _

                                                                                                                s
               E.          The facts of my case are as follows. Attach additional pages if needed.




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                    (Note: As additional support for the facts ofyour claim, you may attach to this complaint a copy of
                    your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                    relevant state or city human rights division.)

IV.     Exhaustion of Federal Administrative Remedies

        A.          It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                    my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                    on (date)




       B.           The Equal Employment Opportunity Commission (check one):

                           □              has not issued a Notice of Right to Sue letter.

                           □              issued a Notice of Right to Sue letter, which I received on (date)
                                         (Note: Attach a copy of the Notice ofRight to Sue letter from the Equal Employment
                                         Opportunity Commission to this complaint.)

       C.           Only litigants alleging age discrimination must answer this question.

                    Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                    regarding the defendant's alleged discriminatory conduct (check one):

                                         60 days or more have elapsed.
                                         less than 60 days have elapsed.


V.     Relief

       State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
       arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
       amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
       or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
       money damages.




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    VI.     Certification and Closing

            Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
            and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
            unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
            nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
            evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
            opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
            requirements of Rule 11.



           A.           For Parties Without an Attorney

                        I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                        served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                        in the dismissal of my case.

                        Date of signing:          'j 1- \- 2 2-

                        Signature of Plaintiff                 ~ -J ~ ifil;=
                        Printed Name of Plaintiff                  L 7'\,~
                                                                       .ml\

           B.           For Attorneys

                        Date of signing:


                        Signature of Attorney
                        Printed Name of Attorney
                        Bar Number
                        Name of Law Firm
                        Street Address
                        State and Zip Code
                        Telephone Number
                        E-mail Address




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